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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                     4/21/2020
GCT NEW YORK LP,                                          :
                                                          :
                                        Plaintiff,        :
                                                          :     20-cv-3121 (VSB)
                      -against-                           :
                                                          :         ORDER
                                                          :
MAERSK LINE A/S and                                       :
HAMBURG SUDAMERIKANISCHE                                  :
DAMPFSCHIFFFAHRTS                                         :
GESELLSCHAFT APS & CO KG,                                 :
                                                          :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        I am in receipt of Plaintiff GCT New York LP’s (“GCT”) application for a temporary

restraining order and preliminary injunction against defendants Maersk Line A/S (“Maersk”) and

Hamburg Sudamerikanische Dámpfschifffahrts-Gesellschaft APS & Co. KG (“Hamburg Sud”

and, collectively with Maersk, “Defendants”) pursuant to Rule 65(a) of the Federal Rules of

Civil Procedure. Accordingly, it is hereby:

        ORDERED that Defendants are directed to file a brief in opposition to the temporary

restraining order on or before Wednesday April 22, 2020.

        IT IS FURTHER ORDERED that the parties are directed to appear for a telephonic

conference relating to the application for a Temporary Restraining Order on Friday April 24,

2020, at 2:00 p.m. The dial in information for that conference is 888-363-4749, Access Code

2682448.
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SO ORDERED.

Dated: April 21, 2020
       New York, New York

                                         ______________________
                                         Vernon S. Broderick
                                         United States District Judge
